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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


UNITED STATES OF AMERCA,                                       )
                                                               )
               Plaintiff,                                      )
                                                               )
       v.                                                      )
                                                               )   No.
$4,000,000.00 IN FUNDS VOLUNTARILY                             )
TURNED OVER FOR SEIZURE BY BLACKFOREST                         )
REAL ESTATE ADVISORS LLC;                                      )
                                                               )
$3,000,000.00 IN FUNDS VOLUNTARILY TURNED                      )
OVER FOR SEIZURE BY BLACKFOREST REAL                           )
ESTATE ADVISORS LLC; AND                                       )
                                                               )
$1,000,000 IN FUNDS VOLUNTARILY TURNED                         )
OVER FOR SEIZURE BY BLACKFOREST REAL                           )
ESTATE ADVISORS LLC,                                           )
                                                               )
               Defendants.                                     )

                    VERIFIED COMPLAINT FOR FORFEITURE IN REM
       Plaintiff, the United States of America brings this Verified Complaint for Forfeiture in Rem

against the three amounts of U.S. currency captioned above (collectively the “Defendant

Property”). The United States alleges as follows in accordance with Supplemental Rule G of the

Federal Rules of Civil Procedure.

       1.      This is a civil action in rem brought by the United States pursuant to Title 18, United

States Code Section 981 seeking forfeiture of all right, title, and interest in the Defendant Property,

further described as:

               a.       $4,000,000.00 in funds from Blackforest Real Estate Advisors LLC wired

to the U.S. Marshals in the Eastern District of Missouri on January 2, 2020 from Bank of America

account ending in 4747;


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               b.      $3,000,000.00 in funds from Blackforest Real Estate Advisors LLC wired

to the U.S. Marshals in the Eastern District of Missouri on January 16, 2020 from Bank of America

account ending in 4747; and

               c.      $1,000,000 in funds from Blackforest Real Estate Advisors LLC wired to

the U.S. Marshals in the Eastern District of Missouri on February 5, 2021 from Bank of America

account ending in 4747.

       2.      The Defendant Property is subject to forfeiture because it constitutes or is traceable

to proceeds of violations of Title 15, United States Code, Section 78dd-1, et seq. or a conspiracy

to commit such offenses and is property involved in transactions or attempted transactions in

violation of Title 18, United States Code Sections 1956 and 1957 or a conspiracy to commit such

offenses, or is traceable to such property.

       3.      Specifically, this action arises out of a scheme whereby Nervis Gerardo Villalobos-

Cardenas and others solicited bribes and kickbacks to facilitate contracts and payments to co-

conspirators from Petróleos de Venezuela S.A. (“PDVSA”), Venezuela’s state-owned and state-

controlled oil company. As part of the scheme, Villalobos-Cardenas’ and others corruptly assisted

two Venezuelan financial brokers, brothers Ignacio and Luis Oberto (“Oberto Brothers”), to secure

a lucrative loan contract with PDVSA. The Oberto Brothers used PDVSA’s loan repayments to

fund black market currency transactions. Villalobos-Cardenas’ subsequently invested some of the

proceeds he derived from this scheme – the Defendant Property – into two properties in Brooklyn,

New York.

       4.      This Court has jurisdiction over the subject matter pursuant to Title 28, United

States Code Sections 1331, 1345, and 1355 because this is a civil action arising under the laws of

the United States, a forfeiture proceeding, and has been brought by the United States.



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       5.      This Court has jurisdiction over the parties pursuant to Title 28, United States Code

Sections 1345 and 1355 because this is a forfeiture proceeding, and because it has been brought

by the United States.

       6.      Venue is proper in the Eastern District of Missouri pursuant to Title 28, United

States Code Section 1355 because an act giving rise to the forfeiture occurred in the Eastern

District of Missouri and the Defendant Property is located in this District.

                          FACTS GIVING RISE TO FORFEITURE

       7.      During all times relevant, PDVSA was the Venezuelan state-owned oil and natural

gas company. PDVSA and its subsidiaries and affiliates, including U.S.-based affiliates, were

responsible for the exploration, production, refining, transportation, and trade of oil and natural

gas from Venezuela. PDVSA officers and employees were “foreign officials” as that term is used

in Title 15, United States Code, Section 78dd-2(h)(2)(A).

       8.      PDVSA awarded contracts through a competitive bidding process and through sole

source contracts, which were not subject to a competitive bidding process. All contracts needed to

be approved by senior PDVSA employees.

                            Venezuelan Currency Exchange Schemes

       9.      Historically, many Venezuelan citizens have sought to protect their wealth from

local economic, political and social factors by converting it to more stable banking systems in

Europe and the United States. To avoid a flight of capital, the Venezuelan government restricted

the outflow of funds from their financial systems by imposing numerous barriers on currency

exchange. In recent years, and during the time relevant here, the Venezuelan government enacted

various policies and regulations which made the transfer of funds, or the exchange of those funds

to foreign currencies, difficult and complex.



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       10.      Upon information and belief, in or about February 2003, Venezuela enacted

currency exchange controls which fixed the exchange rate of the Venezuelan Bolivar to the U.S.

Dollar (“USD”) at a rate controlled by the Venezuelan government. The government imposed

restrictions on foreign currency exchange rates and the procedures used to obtain foreign

currencies. The government retained the authority to sell USD to individuals and corporations for

limited use purposes identified by the government. USD sold by the government had a preferential

exchange rate. However, USD was sold on the black market for much higher exchange rates. The

government also maintained a supply of USD to pay for things and uses identified by the

government.

       11.      For example, upon information and belief, in 2014 an individual could exchange

$10 million USD for 600 million Bolivars at a black market rate. Then, if the individual had access

to the government preferential rate, the individual could convert that same 600 million Bolivars

into $100 million USD – basically buying $100 million USD for $10 million USD in two

transactions.

       12.      Similar dynamics applied at the times relevant here based on the prevailing

preferred and black market exchange rates.

       13.      The difference between the government preferred rate and the black market rate

created opportunity for fraud, and incentivized those that engaged in the currency exchange

scheme to seek sources of USD at preferred rates.

       14.      PDVSA, as Venezuela’s primary source of income and USD, presented an

attractive target to fund corrupt foreign exchange schemes. Accordingly, these schemes frequently

occurred at PDVSA, with PDVSA officials frequently facilitating these schemes in return for

bribes and kickbacks.



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                                      The Loan with PDVSA

       15.     In 2012, the Oberto Brothers endeavored with others set up a corrupt currency

exchange scheme to exploit the differences between the preferential and black market rates.

       16.     In order to secure a supply of USD, in or about March 2012, the Oberto Brothers

secured an approximately 17 billion Bolivar loan agreement between PDVSA and Administrator

Atlantic (“Atlantic”), a Venezuelan real estate company owned by two people including an

attorney affiliated with the Oberto Brothers.

       17.     The terms of the loan contract called for multiple payments of Bolivars to be

disbursed into PDVSA’s accounts in Venezuela with the loan repaid to Atlantic in USD and Euros

at the Venezuelan government’s preferred/fixed exchange rate. The loan contract also

preauthorized the reassignment of the company and accounts which could receive the loan

repayments.

       18.     The loan acted as a purportedly legitimate mechanism for the Oberto Brothers to

obtain USD from PDVSA at the lower government preferential exchange rate to fund exchanges

on the black market at a much higher rate – resulting in a substantial profit.

       19.     On or about three days following the execution of the loan, the repayment rights

under the contract were reassigned from Atlantic to Violet Advisors, a Swiss shell company

controlled by the Oberto Brothers with a Swiss bank account(s).

       20.     The reassignment from Atlantic to Violet Advisors acted to conceal the Oberto

Brothers as the true recipient of the repayments and allow the repayments to go to off-shore

accounts under control of the Oberto Brothers. The use of off-shore entities makes it difficult to

trace the source and destination of these transactions. Many of these off-shore entities are located

in jurisdictions with strong bank secrecy laws, such as Switzerland. Verifying the true ownership



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of the off-shore company and source funds in such transactions is very difficult in light of these

considerations, creating an inherent risk for United States banks which allow their customers to

participate in such transactions. Domestic registration of money transmitting businesses such as

the one described below would require records to be kept and reports to be made that might provide

transparency as to the nature of those transactions; conversely, the failure to register permits such

businesses and their customers to conceal the true source and nature of those transactions.

       21.     The rights were again reassigned from Violet Advisors to Welka Holdings, another

Swiss shell company controlled by the Oberto Brothers, at the behest of Swiss bankers concerned

that the high volume of transactions with Violet Advisors was drawing attention.

       22.     Between March 2012 and March 2013, Violet Advisors and Welka Holdings

received approximately $4.85 billion USD from PDVSA in loan repayments.

                                       Currency Exchanges

       23.     Usually within 48 to 72 hours of receiving a loan repayment from PDVSA, the

Oberto Brothers typically transferred USD to direct buyers or resellers/brokers. The Oberto

Brothers entered into these transactions to profit from individuals and companies that resorted to

the black market to obtain USD.

       24.     Clients purchasing USD deposited Venezuelan Bolivars into Atlantic’s bank

accounts held at a Venezuelan bank. These accounts were titled under the name of Atlantic or into

accounts under the name of entities controlled by a friend of one of the Oberto Brothers. Bolivars

were transferred to PDVSA’s accounts pursuant to the loan’s terms by internal bank transfers.

       25.     Hjalmar Gibelli-Gomez, a Venezuelan national, owned a construction company

and an insurance company called Resguarda Sociedad De Corretaje De Seguros, C.A.

(“Resguarda”). Gibelli-Gomez admitted that, in or around February 2003, he began purchasing



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and selling USD and Venezuelan Bolivars on the black market, and that he utilized Resguarda and

its affiliated accounts to do it. USD derived from the currency transactions, including with Violet

Advisors, were deposited into Resgaurda accounts held at Wells Fargo Advisors, located in St.

Louis, within the Eastern District of Missouri.

                                       The Bribery Scheme

       26.     Villalobos-Cardenas was the Deputy Minister of Energy in Venezuela until 2006.

Upon leaving that position, Villalobos-Cardenas maintained connections with officials at PDVSA,

Venezuelan electricity companies, and within the Venezuelan government.

       27.     Beginning in at least 2011 until at least 2013, Villalobos-Cardenas, himself and

with others, solicited bribes and kickbacks to obtain payments on existing PDVSA invoices and

secure contracts for individuals and entities with PDVSA and other government entities in

exchange for payment.

       28.     Villalobos-Cardenas laundered the proceeds of the bribery scheme through

numerous financial transactions, including through international wire transfers to and from Swiss

bank accounts, among others, in the names of various companies. Villalobos-Cardenas sought to

conceal the nature of the scheme by directing bribe payments to be sent to various recipients such

as companies, intermediaries, his attorney, and others.

       29.     On August 23, 2017, Villalobos-Cardenas and his co-conspirators were charged in

the Southern District of Texas for conspiring to commit money laundering and violating the

Foreign Corrupt Practices Act (“FCPA”), among other charges, stemming from this conduct. See

Case No. H-17-514-S (4:17CR514). The indictment is incorporated by reference herein.

       30.     As part of the scheme, Roberto Enrique Rincon-Fernandez, a U.S. lawful residence,

controlled with others several U.S. companies that Rincon-Fernandez used to secure contracts with



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PDVSA for the supply of equipment and services. Rincon-Fernandez was approached by

Villalobos-Cardenas and others to help secure lucrative contracts between Rincon-Fernandez’s

U.S. based companies and PDVSA. Rincon-Fernandez was forced to pay kickbacks to Villalobos-

Cardenas and other co-conspirators before and during the contract acquisition process. Rincon-

Fernandez also paid Villalobos-Cardenas to win future contracts. Villalobos-Cardenas directed

Rincon-Fernandez to his attorney to set up entities for Rincon-Fernandez to use to conduct these

payments. Rincon-Fernandez never paid Villalobos-Cardenas directly but made the payment to

corporations that Villalobos directed him to pay.

         31.     In 2016 in the Southern District of Texas, Rincon-Fernandez admitted to the

aforementioned conduct and pleaded guilty to a violation of the FCPA, conspiring to violate the

FCPA, and a tax charge. See Case No. 4:15CR654-1.

         32.     Upon information and belief, in order to secure a loan contract of such magnitude,

the Oberto Brothers sought a significant direct relationship with Rafael Ramirez, Venezuela’s oil

minister from 2002 to 2014 and PDVSA president between 2004 and 2014, and other PDVSA

officials who had the authority to approve contracts.1 Villalobos-Cardenas maintained a

relationship with Ramirez and officials at PDVSA. Villalobos-Cardenas also held himself out as

someone that could facilitate contracts in exchange for a percentage of the contract price.

Accordingly, the Oberto Brothers engaged Villalobos-Cardenas to act as the principal go-between

with Ramirez and others to facilitate bribes to obtain approval of the loan contract with Atlantic.

In return, Villalobos-Cardenas received compensation in the form of percentage shares from the

funds generated by the loan contract.



1
 Upon information and belief, in 2014, Ramirez served as Minister of Foreign Affairs, and then subsequently served
as Venezuela’s Permanent Representative to the United Nations. Ramirez ceased serving the Venezuelan
government in 2017.

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       33.     It was further part of the scheme that Villalobos-Cardenas orchestrated a bribe of

$12 million USD to Abraham Edgardo Ortega from the Oberto Brothers to ensure Ortega’s

cooperation in allowing the loan repayments to Violet Advisors to go through, and that those

repayments were paid in USD. From August 2004 through March 2016, Ortega held various high-

ranking positions within PDVSA, including PDVSA’s executive director of financial planning.

Villalobos-Cardenas introduced Ortega to his attorney who assisted Ortega in establishing shell

companies to receive the $12 million bribe. In the Southern District of Florida 2018, Ortega

pleaded guilty to conspiring to commit money laundering, including for accepting bribes for his

participation in this scheme. See Case No. 1:18-cr-20685-KMW-4.

       34.     The Oberto Brothers paid Villalobos-Cardenas roughly $90 million in USD as his

share of proceeds from the loan contract scheme. In order to conceal the nature of the funds, they

were directed to accounts associated with two off-shore shell companies, Mirabelle Ocean and

Delphi Investments, controlled by Villalobos-Cardenas. Specifically, on or about April 3, 2012,

$30 million USD derived from the loan contract scheme was transferred from accounts held by

Violet Advisors, controlled by the Oberto Brothers, to Delphi Investments. On or about September

29, 2012, approximately $31 million USD was transferred from Violet Advisors to Mirabelle

Ocean. Then, on or about October 12, 2012, approximately another $29 million USD was

transferred from accounts held by Violet Advisors to Mirabelle Ocean.

                                    The Defendant Property

       35.     In 2012, Villalobos-Cardenas wired a total of $8 million USD (the Defendant

Property) of funds derived from the scheme from a Swiss bank account associated with Mirabelle

Ocean to account(s) associated with Blackforest Real Estate Advisors in order to invest in two

parcels of real estate located in and around Brooklyn, New York.



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       36.      On January 2, 2020, January 6, 2020, and February 5, 2021, Blackforest Real Estate

Advisors voluntarily wired $4 million USD, $3 million USD, and $1 million USD respectively

(the Defendant Property) to an account of the U.S. Marshal’s Service, Eastern District of Missouri.

Since that time, the Defendant Property has been in the custody and control of the U.S. Marshal’s

Service in Eastern District of Missouri.

         COUNT ONE – FORFEITURE AS PROPERTY INVOLVED IN MONEY
                               LAUNDERING
                           18 U.S.C. § 981(A)(1)(A)

       37.      Each of the foregoing allegations is hereby incorporated by reference as if fully set

forth herein.

       38.      Villalobos-Cardenas and others carried out a scheme to influence and bribe officials

within PDVSA in order to facilitate the award of a loan contract with the Oberto Brothers in

violation of the FCPA and the laws of Venezuela, and used the proceeds to conduct financial

transactions to promote the carrying on of the scheme and to conceal or disguise the nature,

location, source, ownership and/or control of the proceeds in violation of 18 U.S.C. § 1956.

Villalobos-Cardenas and others further used the criminal proceeds from the scheme to conduct

monetary transactions in an amount greater than $10,000 in violation of 18 U.S.C. § 1957. Or they

engaged in a conspiracy to commit such offenses.

       39.      The Defendant Property is therefore subject to forfeiture pursuant to 18 U.S.C. §

981(a)(1)(A).

 COUNT TWO – FORFEITURE AS PROPERTY INVOLVED IN FOREIGN CORRUPT
                            PRACTICES
                       18 U.S.C. § 981(A)(1)(C)

       40.      Each of the foregoing allegations is hereby incorporated by reference as if fully set

forth herein.



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       41.     Based on the above, the Defendant Property constitutes or is traceable to proceeds

of violations of 15 U.S.C. §§ 78dd-1 et. seq. or a conspiracy to commit such offense. The

Defendant Property is therefore subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).

                                    PRAYER FOR RELIEF

       WHEREFORE, the United States of America prays that notice issue on the Defendant

Property as described above; that due notice be given to all parties to appear and show cause why

the forfeiture should not be decreed; that judgment be entered declaring that the defendant

properties be forfeited to the United States of America for disposition according to law; and that

the United States of America be granted such other relief as this Court may deem just and proper,

together with the costs and disbursements of this action.

                                                            Respectfully Submitted,

                                                            SAYLER A. FLEMING
                                                            United States Attorney

                                                            /s/ Stephen Casey
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                                        VERIFICATION

   I, Daniel Sanders, hereby verify and declare under penalty of perjury that I am a Task Force

Officer with the Drug Enforcement Administration, that I have read the foregoing Verified

Complaint and know the contents thereof, and that the matters contained in the Verified

Complaint are true to my own knowledge and belief.

   The sources of my knowledge and information and the grounds of my belief are the official

files and records of the United States, information supplied to me by other law enforcement

officers, as well as my investigation of this case, together with others, as a Task Force Officer

with the Drug Enforcement Administration.

   Pursuant to 28 U.S.C. ' 1746, I declare under penalty of perjury that the foregoing is true and

correct.

   Executed on: _______________________
                 12-20-2024

                   (date)



______________________________________________
DANIEL SANDERS
Task Force Officer
Drug Enforcement Administration
